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10                        UNITED STATES DISTRICT COURT
11         CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
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13   SERGE HAITAYAN, et al.,                      Case No. 2:18-cv-5465 DSF (ASx)
14                      Plaintiffs,               FINAL JUDGMENT IN FAVOR OF
                                                  DEFENDANT
15          vs.                                   7-ELEVEN, INC.
16   7-ELEVEN, INC., a Texas corporation,
17                      Defendant.
18

19

20         The remaining claims asserted by the Plaintiffs in this matter were tried to the
21   Court on March 23 and March 24, 2021. Having heard and reviewed the evidence and
22   having considered the parties’ post-trial submissions, the Court entered its Findings of
23   Fact and Conclusions of Law After Court Trial on September 8, 2021, finding for
24   Defendant 7-Eleven, Inc. (“7-Eleven”) on all remaining claims asserted by the Plaintiffs
25   in this matter. Dkt. 205. In accordance with those findings, judgment is hereby entered
26   in 7-Eleven’s favor on all of Plaintiffs’ remaining claims. Therefore:
27         IT IS HEREBY ORDERED, ADJUDGED AND DECREED that Judgment
28   is entered in favor of 7-Eleven and against Plaintiffs on Plaintiffs’ First Amended
Case 2:18-cv-05465-DSF-AS Document 207 Filed 10/01/21 Page 2 of 2 Page ID #:4175


 1   Complaint. Plaintiffs shall take nothing by way of their First Amended Complaint, and
 2   this action is dismissed with prejudice.
 3         IT IS SO ORDERED.
 4   DATED: October 1, 2021
 5
                                            Honorable Dale S. Fischer
 6                                          UNITED STATES DISTRICT JUDGE
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